Case 1:25-cv-00039-JJM-PAS   Document 68-63   Filed 02/07/25   Page 1 of 6 PageID
                                   #: 4060




                  Thomas-Jensen
                   Affirmation



                      Exhibit # 63
Case 1:25-cv-00039-JJM-PAS            Document 68-63           Filed 02/07/25     Page 2 of 6 PageID
                                            #: 4061



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



  STATE OF NEW YORK; et al.,

                  Plaintiffs,

          v.                                                C.A. No. 1:25-cv-00039-JJM-PAS

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                  Defendants.



                       DECLARATION OF KRISTEN PORTER-UTLEY
                I, Kristen Porter-Utley, declare as follows:

        1.      I am a resident of the Commonwealth of Massachusetts. I am over the age of 18

 and have personal knowledge of all the facts stated herein, except to those matters stated upon

 information and belief; as to those matters, I believe them to be true. If called as a witness, I

 could and would testify competently to the matters set forth below.

        2.      I am currently employed by Framingham State University (“FSU”) as Provost and

 Vice President for Academic Affairs.

        3.      FSU is a state university with the mission to prepare students for a productive life,

 enhanced by learning and leadership that will contribute to the culturally diverse world of the

 twenty-first century. The University serves as an important educational and cultural center in the

 MetroWest region of Massachusetts. A FSU education cultivates thoughtful, responsible local

 and global citizens, prepares students for a career, and positions them for success.

        4.      As Provost and Vice President for Academic Affairs, I oversee all the programs,

 centers, and personnel in the Division of Academic Affairs at FSU. I am also the principal PI of a

                                                   1
Case 1:25-cv-00039-JJM-PAS             Document 68-63          Filed 02/07/25       Page 3 of 6 PageID
                                             #: 4062



 currently funded National Science Foundation (NSF) - Alliances for Graduate Education and the

 Professoriate (AGEP) grant. Partner institutions, which receive and manage their own budgets as

 a part of this project, are Bridgewater State University (BSU) and Worcester State University

 (WSU).

           5.    FSU, BSU, and WSU (we call ourselves an alliance) working on an AGEP-NSF

 grant entitled Collaborative Research: The AGEP Massachusetts State University System Equity-

 Minded Model for Recruiting and Advancing Early Career Faculty in the STEM Professoriate.

 This grant is for a total of $2.9 million (direct + indirect) across all institutions for a five-year

 period, and we are in the third year of the grant. Note that FSU, the lead institution on the

 project, received $1.5 million (direct + indirect) for the five-year project.

           6.    The goal of our alliance is to develop, implement, evaluate and institutionalize a

 cohort-hiring model for transforming institutions to be more supportive and culturally sensitive

 such that the faculty successfully advance through recruitment and retention along early career

 pathways to tenure in teaching-focused comprehensive universities. It affects directly 9 faculty

 members, 2 full time staff members (and indirectly hundreds of students who rely on their

 professors to have professional development that enhances their work to effectively serve student

 needs).

           7.    Our budgets for this year have relied on grant funds for a variety of purposes, and

 we made plans and allocated funding for staffing and faculty based on the anticipated receipt of

 promised Federal funding to help us develop a model to support faculty at teaching-intensive

 institutions. This funding is instrumental for professional development for faculty, attendance at

 nationally recognized conferences, programming for best practices in teaching and advising,

 mentoring faculty and students of color, equity-minded recruitment and hiring practices, building



                                                     2
Case 1:25-cv-00039-JJM-PAS             Document 68-63        Filed 02/07/25      Page 4 of 6 PageID
                                             #: 4063



 a sense of belonging to improve campus climate and start-up funding for faculty research

 programs.

           8.     Any pause in our federal funding hinders our faculty members progress in their

 research (in fields such as cancer biology, microbiology, neurobiology, criminology, and data

 science) and limits the training of young and excellent scientists.

           9.     The immediate chilling effect of recent presidential decisions is significant. Our

 faculty and staff members who have been committed to this work over the last 2.5 years feel we

 are on the precipice of creating a model for supporting STEM faculty which we would like to

 make available to institutions like ours from across the state and nation; however, right now we

 are a bit stuck in limbo.

           10.    In the next two years, we are scheduled to receive disbursements of ~$1.5 million

 under our current federal grants. The status of the remaining funds is appropriated, apportioned,

 and obligated.

           11.    We expect disbursements of the remaining funds to members of our alliance on

 July 1, 2025, and July 1, 2026. If we do not receive such disbursements, we will not be able to

 complete the grant project – the creation of a model – and associated activities (many listed

 above).

           12.    On January 27, 2025, the OMB’s issuance of Memorandum M-25-13, which FSU

 interprets to be a complete freeze on grant spending. Although the grant money has been

 accessed by FSU and dispersed to its campuses, FSU believes it cannot spend these funds

 without violating federal directives. As a result, we had to cancel an NSF site visit for February

 2-3, pause external evaluation efforts, and all Implementation Team activities at our three




                                                   3
Case 1:25-cv-00039-JJM-PAS            Document 68-63         Filed 02/07/25      Page 5 of 6 PageID
                                            #: 4064



 universities. This is essentially delaying planned activities designed to inform and develop our

 model.

          13.   One element of the AGEP grant includes a site visit by a Program Officer which

 had been scheduled for February 2-3, 2025. The site visit consists of NSF-identified panelists

 from across the nation who visit the primary institution’s campus, FSU, and hear from staff and

 faculty about our successes and challenges. The greatest benefit of the site visit is the NSF panel

 of experts who are able to provide us with an external perspective which would have helped

 guide us as we complete the development of a faculty success model by June 2027. On January

 28, 2025, FSU was notified by our primary Program Officer at the NSF that this visit would be

 indefinitely canceled, and that the Program Officer would not communicate with FSU until

 February 10, 2025. We coordinated all aspects the visit and, most importantly, mobilized over 50

 faculty and staff member across three MA state universities to come together at FSU for what we

 knew would be a thorough assessment of our work, and a gathering of minds to inform the

 development of our model. The site visit was cancelled with more than 48 hours’ notice, so we

 were able to recover institutional funds that were to be spent in support of the visit; I am sure

 NSF was not able to recover funds they spent on travel for the panelists. The biggest negative

 impact is that we were unable to benefit from being and working together in one place where we

 are all focused on the work at hand. And many are now concerned that we will not be able to

 complete the project we have been committed to for the past 2.5 years.

          14.   As a country we are falling behind other countries in science and math

 assessments. We need more investment in STEM education, not less. Broadening participation

 in the sciences is necessary for the technological advances that are and will continue to be

 instrumental to our economy. In Massachusetts, as a huge contributor to the biotech industry, we



                                                   4
Case 1:25-cv-00039-JJM-PAS            Document 68-63        Filed 02/07/25      Page 6 of 6 PageID
                                            #: 4065



 need people in our communities who can work in these industries to advance knowledge in these

 fields. Educating and training all students especially students who are underrepresented

 minorities in STEM is essential for our country to move forward with new discoveries that are

 instrumental in treating and curing disease and contribute to our technology industries. Research

 shows that representation does matter for students of color. Faculty of color are more likely to

 utilize pedagogical approaches that are relevant to students of color, to have high expectations

 and favorable views of students of color and can enhance the “sense of belonging” that students

 of color can feel on campus. In addition, research shows that diverse teams foster creativity and

 innovation that is needed in problem solving. People from diverse backgrounds bring a

 multitude of perspectives and ideas that can work towards new solutions to many of the scientific

 challenges we currently and will face.

        15.     We continue to be concerned that the funding will again be delayed or denied

 because we are, at the moment, unable to even speak with our primary NSF Program Director

 about what to expect this year and, hopefully…possibly, the next two years of the project.

       I declare under penalty of perjury that the foregoing is true and correct.

                Executed on February 4, 2025, at Framingham, Massachusetts.




 Kristen Porter-Utley
 Provost and Vice President for Academic Affairs
 Framingham State University
 Framingham, Massachusetts
 Resident of Framingham, Massachusetts



                                                  5
